
196 S.E.2d 277 (1973)
283 N.C. 394
T. H. YANCEY et al.
v.
Louise H. WATKINS et al.
Supreme Court of North Carolina.
April 30, 1973.
Watkins, Edmundson &amp; Wilkinson, Banzet &amp; Banzet, for appellant.
Royster &amp; Royster, Perry, Kittrell, Blackburn &amp; Blackburn, for appellee.
Petition for writ of certiorari by Louise H. Watkins to review the decision of the North Carolina Court of Appeals, 12 N.C. App. 140, 182 S.E.2d 605, 17 N.C.App. 515, 195 S.E.2d 89. Denied.
